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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MBALAMINWE MWIMANZI,

                         Plaintiff,
             v.
                                                     20-cv-00079 (CRC)
 JOSHUA WILSON, et al.,

                         Defendants.


DEFENDANTS’ CONSENT MOTION TO EXTEND THE REMAINING SCHEDULING
                      ORDER DEADLINES

       Defendants District of Columbia (the District) and Officer Joshua Wilson, with the

consent of Plaintiff Mbalaminwe Mwimanzi, hereby move this Court, under Fed. Rs. Civ. P.

(6)(b) and 16(b)(4), to extend the remaining deadlines in the Scheduling Order by about 90 days.

Despite their good faith efforts, the parties will be unable to complete all discovery by the

discovery close date. Good cause exists to extend the remaining court ordered deadlines to allow

the parties to complete discovery.

       A memorandum of points and authorities and a proposed order are attached for the

Court’s consideration.

Dated: March 5, 2021                          Respectfully submitted,

                                              KARL A. RACINE
                                              Attorney General for the District of Columbia

                                              CHAD COPELAND
                                              Deputy Attorney General
                                              Civil Litigation Division




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                                    /s/ Patricia A. Oxendine
                                    PATRICIA A. OXENDINE
                                    D.C. Bar No. 428132
                                    Chief, Civil Litigation Division, Section I


                                    /s/ Stephanie M. Corcoran
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                                    Counsel for Defendants District of Columbia and
                                    Officer Joshua Wilson


                       LCvR 7.1(m) CERTIFICATION

On March 4, 2021, Mwimanzi’s counsel consented to the relief requested in this motion.


                                    /s/ Stephanie M. Corcoran
                                    STEPHANIE M. CORCORAN
                                    Assistant Attorney General




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 MBALAMINWE MWIMANZI,

                      Plaintiff,
             v.
                                                   20-cv-00079 (CRC)
 JOSHUA WILSON, et al.,

                      Defendants.


MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
  CONSENT MOTION TO EXTEND THE REMAINING SCHEDULING ORDER
                         DEADLINES

       The District of Columbia (the District) and Officer Joshua Wilson submit this

memorandum of points and authorities in support of their Consent Motion to Extend the

Remaining Scheduling Order deadlines.

                                      INTRODUCTION

       Good cause exists to extend the remaining scheduling order deadlines to allow the parties

to complete all discovery.

                                           FACTS

       Mbalaminwe Mwimanzi sued the District and Officer Wilson and alleges that, while a

guest at a friend’s home, he was unreasonably searched and assaulted by Officer Wilson. See

Compl. [1]. Mwimanzi raises claims under 42 U.S.C. § 1983 (Count I) and a common law

battery claim (Count II). Id.

       Discovery closes on March 9, 2021. See January 4, 2021 Scheduling Minute Order. The

parties scheduled depositions but the depositions were cancelled. Through inadvertence, the

District did not produce all responsive documents from an MPD IAD report. The District now


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has those documents, exceeding 1,000 pages, and expects to produce that discovery by March

12, 2021. Based on Mwimanzi’s counsel’s schedule, Defendants now move to extend the

remaining deadlines in the scheduling order by about 90 days so as to accommodate all parties.

                                           LEGAL STANDARD

         Fed. R. Civ. P. 6(b)(1) provides that “[w]hen an act may or must be done within a

specified time, the court may, for good cause, extend the time: (A) with or without motion or

notice if the court acts, or if a request is made, before the original time or its extension

expires….” Additionally, Fed. R. Civ. P. 16(b)(4) provides that “[a] schedule may be modified

only for good cause and with the judge’s consent.” “Good cause” exists where a deadline in a

scheduling order “cannot reasonably be met despite the diligence of the party seeking the

extension.” See Amtrak v. Expresstrak, L.L.C., 2006 U.S. Dist. LEXIS 67642 (D.D.C. Sept. 21,

2006).

                                                ARGUMENT

         This motion is filed before the expiration of the prescribed period for the upcoming

deadlines and otherwise meets the requirements of Rules 6(b)(1) and 16(b)(4). The Court should

grant this motion because good cause exists for the requested relief. While some written

discovery has been exchanged, through inadvertence, the District did not produce all written

discovery sought by Mwimanzi before the scheduled depositions. The parties believed they

should not move forward with depositions until all written discovery has been exchanged. Given

that discovery closes on March 9, 2021, the parties will be unable to conduct all discovery before

the discovery close date. And they cannot complete all depositions before the end of May given

Mwimanzi’s counsel’s busy schedule in April 2021. This modification is not sought for

purposes of delay. No party will be unduly prejudiced, nor will the Court’s calendar be unduly



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burdened should this motion be granted. Indeed, the parties agree about the relief sought in this

motion.

        This is the Defendants’ third motion to extend discovery. See Ct. Dkt. And the parties

moved jointly to extend discovery. Id. Defendants ask that the following deadlines govern the

remainder of this litigation:

Event                                 Current Deadline              Proposed Deadline

Discovery Deadline                    March 9, 2021                 May 31, 2021

Post-Discovery Status Conference      March 16, 2021                June 7, 2021
                                      11:30 AM                      11:30 AM


                                            CONCLUSION

        For these reasons, the Court should grant this motion.

Dated: March 5, 2021                         Respectfully submitted,

                                             KARL A. RACINE
                                             Attorney General for the District of Columbia

                                             CHAD COPELAND
                                             Deputy Attorney General
                                             Civil Litigation Division


                                             /s/ Patricia A. Oxendine
                                             PATRICIA A. OXENDINE
                                             D.C. Bar No. 428132
                                             Chief, Civil Litigation Division, Section I




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                           Counsel for Defendants District of Columbia and
                           Officer Joshua Wilson




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                           UNITED STATES DISTRICT COURT
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                      Plaintiff,
             v.
                                                   20-cv-00079 (CRC)
 JOSHUA WILSON, et al.,

                      Defendants.



                                           ORDER

        Upon consideration of Defendants District of Columbia and Office Joshua Wilson’s

Consent Motion to Extend the Remaining Scheduling Order Deadlines, the supporting

memorandum of points and authorities, and the record herein, it is on this __________ day of

____________, 2021,

        ORDERED, that the Motion is GRANTED for the reasons raised in the motion, and it

is,

        FURTHER ORDERED that the Scheduling Order is hereby modified as follows:

Event                               Current Deadline              Proposed Deadline

Discovery Deadline                  March 9, 2021                 May 31, 2021

Post-Discovery Status Conference    March 16, 2021 at             June 7, 2021 at
                                    11:30 AM                      11:30 AM


                                            _________________________________
                                            JUDGE CHRISTOPHER R. COOPER
                                            U.S. District Court for the District of Columbia




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